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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION

910 E MAIN LLC D/B/A QUARTER          CIVIL ACTION NO.__________
TAVERN; BUBBA’S SALOON, LLC;
CJD III LLC D/B/A TWISTED TAVERN;
DOUG MCCARTHY ENTERPRISES INC.
D/B/A 501; EMERALD BILLIARDS, L.L.C.; DISTRICT JUDGE __________________
MULLIGAN’S ON THE TECHE, L.L.C.
D/B/A CANTINA’S DOWNTOWN; MY
PLACE BAR & GRILL, L.L.C.;
NAPOLEONS ON THE TECHE, LLC; POOL MAGISTRATE JUDGE ______________
DO’S SPORTS BAR LLP; SOCO SPORTS
BAR, LLC; YED ENTERPRISES LLC
D/B/A DEWEY’S LOUNGE
                                      JURY DEMAND

VERSUS

JOHN BEL EDWARDS,
IN HIS OFFICIAL CAPACITY
AS GOVERNOR OF THE STATE OF
LOUISIANA; AND H. “BUTCH”
BROWNING, JR., IN HIS OFFICIAL
CAPACITY AS FIRE MARSHAL OF
THE STATE OF LOUISIANA


       COMPLAINT FOR DECLARATORY JUDGMENT, INJUNCTIVE RELIEF,
                           AND DAMAGES

        For their Complaint, Plaintiffs state as follows:

                                             PARTIES

1.      The Plaintiffs are:

     A. 910 E Main 33, LLC d/b/a Quarter Tavern, a limited liability company formed under the

        laws of the State of Louisiana with its principal office located 218 W Peter Street, New

        Iberia, LA 70560;




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   B. Bubba’s Saloon, LLC, a limited liability company formed under the laws of the State of

      Louisiana with its principal office located at 3126 Curtis Lane, New Iberia, LA 70563;

   C. CJD III LLC d/b/a Twisted Tavern, a limited liability company formed under the laws of

      the State of Louisiana with its principal office located at 514 Apricot Street, New Iberia,

      LA 70563;

   D. Doug McCarthy Enterprises Inc. d/b/a “501,” a corporation incorporated under the laws of

      the State of Louisiana with its principal place of business located at 103 St. Martinique

      Lane, Lafayette, LA 70508;

   E. Emerald Billiards, L.L.C., a limited liability company formed under the laws of the State

      of Louisiana with its principal office located at 2511 W. Old Spanish Trail, New Iberia,

      LA 70560;

   F. Mulligan’s on the Teche, L.L.C. d/b/a Cantina’s Downtown, a limited liability company

      formed under the laws of the State of Louisiana with its principal office located at 3 Bridge

      Street, New Iberia, LA 70560;

   G. My Place Bar & Grill, L.L.C., a limited liability company formed under the laws of the

      State of Louisiana with its principal office located at 811 Foreman Drive, Lafayette, LA

      70506;

   H. Napoleons on the Teche, LLC, a limited liability company formed under the laws of the

      State of Louisiana with its principal office located at 127 West Main Street, New Iberia,

      LA 70560;

   I. Pool Do’s Sports Bar LLP, a limited liability partnership formed under the laws of the State

      of Louisiana with its principal office located at 615 Brashear Ave., Morgan City, LA

      70380;



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      J. SoCo Sports Bar, LLC, a limited liability company formed under the laws of the State of

         Louisiana with its principal office located at 414 Gallet Road, Youngsville, LA 70592; and

      K. YED Enterprises LLC d/b/a Dewey’s Lounge, a limited liability company formed under

         the laws of the State of Louisiana with its principal office located at 810 Langlinais Rd.,

         Lot D, Youngsville, LA 70592.

At all times material hereto, Plaintiffs were (and remain) engaged in business operations as bars,

serving alcohol and/or food to the public under licensure by the State of Louisiana and local

authorities.1

2.       Defendant John Bel Edwards (the “Governor”) is the Governor of the State of Louisiana

and is being sued in his official capacity. At all times material hereto, Governor Edwards was

acting in his official capacity and under the color of state law. The claims herein are directed to

the Governor’s issuance and enforcement of Executive Orders unlawfully targeting Plaintiffs’

ownership and use of private property.

3.       Defendant H. “Butch” Browning, Jr. (the “State Fire Marshal”) is the Louisiana State Fire

Marshal and is being sued in his official capacity. The claims herein are directed to the State Fire

Marshall’s activities to enforce the Executive Orders issued by the Governor.

                                 JURISDICTION AND VENUE

4.       The Court has subject matter jurisdiction pursuant to 28 U.S.C.A. §§ 1331, 1343, 2201,

and 2202, and 42 U.S.C. §§ 1983 and 1988, as this suit seeks to redress actions taken by

Defendants, acting under the color of law, which deprived (and are still depriving) Plaintiffs of

fundamental rights secured by the Constitution and laws of the United States. This Court has

supplemental jurisdiction over all state law claims pursuant to 28 U.S.C. § 1367.



1
    See Complaint Verification Forms, attached as Exhibit “A”, in globo.
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5.      Venue is proper pursuant to 28 U.S.C.A. § 1391(b)(2) in that this District Court

encompasses the area where the unlawful enforcement activities and constitutional deprivations at

issue have and will continue to occur, unless enjoined, and where all, or a substantial part, of the

property that is the subject of the action is situated.

                                  SUMMARY OF THE ACTION

6.      This matter involves claims by business owners whose livelihoods are being destroyed by

the exercise of executive authority unlawfully targeting a single sector of the business community

without a basis in law or a rational basis in fact. Plaintiffs seek to enjoin the threatened enforcement

of executive orders that violate the Due Process, Equal Protection, and Takings clauses of the

Constitution of the United States and the Constitution of the State of Louisiana. In addition,

Plaintiffs seek individual awards for damages caused by the unlawful deprivation of constitutional

rights, or alternatively, compensation for the taking of Plaintiffs’ property under the Governor’s

authority to confiscate private property during the declaration of an emergency.

7.      The Governor has not and cannot demonstrate a “real or substantial relation” between the

closure of Plaintiffs’ bars and the public health crisis. In re Abbott, 954 F.3d 772, 784 (5th Cir.

2020) (quoting Jacobson v. Massachusetts, 197 U.S. 11, 31 (1905)).

8.      First, there is no evidence directly linking Plaintiffs’ bars to the COVID-19 public health

emergency. To Plaintiffs’ knowledge not a single COVID-19 transmission has been traced to a bar

owned or operated by any of the Plaintiffs.

9.      Second, according to the Louisiana Department of Health (“LDH”), of the roughly 100,000

known COVID-19 cases when the closure order was last extended on July 23, 2020, only 454

(.45% of all cases) were “traced” to bars. See Exhibit “B”. Moreover, of those 454 cases,

approximately 100 were traced to a single location in Baton Rouge, “Tigerland,” where none of



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the Plaintiffs do business. See Exhibit “C”. In other words, less than one half of one percent of

COVID-19 cases may have been transmitted by patrons at bars, with at least 99.5% transmitted

from elsewhere.

10.       Thus, the Governor’s own data disproves his hypothesis, that bars pose a disproportionately

high risk to the general public warranting targeted restrictions. Absent more—which the Governor

has not provided—the targeted closure of bars is “‘beyond all question’ a plain, palpable invasion

of rights secured by fundamental law.” In re Abbott, 954 F.3d at 784 (quoting Jacobson, 197 U.S.

at 31).

11.       Although the Governor’s actions may have warranted the benefit-of-the-doubt in the early

days of the pandemic when little was known about the disease, there now exists an abundance of

scientific data and other reliable evidence regarding geographic and demographic rates of

infection, transmissions, hospitalizations, and mortality, as well as more reliable and effective

medical treatment. Further, the public has become well versed in the art of social distancing, and

businesses have learned to alter their environments to accommodate this practice. Simply put,

although perhaps justified months ago, it is no longer sufficient to rely on hysteria, hearsay, or

biased commentary as a basis to impose overly-broad, draconian restrictions on fundamental

rights.

                                               FACTS

12.       On March 11, 2020, the World Health Organization (“WHO”) declared a global pandemic

in response to the spread of COVID-19, an infectious disease originating in Wuhan, China in 2019

and present in the United States by early 2020.

13.       That same day, Governor Edwards declared a statewide public health emergency under the

Louisiana Health Emergency Powers Act, La. R.S. 29:760, et seq., as a result of the imminent, yet



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then-unknown threat posed to Louisiana citizens by COVID-19. See Proclamation No. 25 JBE

2020.

14.     On March 22, 2020, Governor Edwards enacted 33 JBE 2020 (the “Stay at Home Order”)

directing the people of Louisiana to stay at their homes unless taking essential trips or to travel to

or from a place of employment, ordering some non-essential businesses to be closed, and placing

limitations on other businesses that were allowed to remain open, amongst other guidelines.

15.     The Stay at Home Order, in part, mandated closure of pool halls, concert and music halls,

adult entertainment venues, and “other similar businesses.”

16.     The rationale for the mandate stated that “the extraordinary threat posed by COVID-19 has

caused critical shortages of health care equipment, personal protective equipment, and possible

shortages in hospital beds, throughout the state” and “without additional measures to slow the

spread of COVID-19 in the state, health care facilities in parts of the state or even throughout the

state are at significant risk of being overwhelmed.” Proclamation No. 33 JBE 2020.

17.     Notably, the Stay at Home Order made no threat of sanctions for non-compliance. In

addition, the only enforcement directive under the order was a general directive for the Governor’s

Office of Homeland Security and Emergency Preparedness (“GOHSEP”) to exercise its statutory

authority, as for all emergencies. GOSHEP has no law-enforcement authority.

18.     Although there was little evidence regarding the scope and severity of the risks posed by

COVID-19, the Stay at Home Order arguably represented a rational response to avert potentially

dire consequences.

19.     During the weeks that followed, more data regarding the virus became available, allowing

for a more reliable assessment of the risks and the effectiveness and appropriateness of mitigation

practices.



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20.       On April 16, 2020, the White House released “Guidelines for Opening Up America Again,”

(hereafter “White House Guidelines”), which included a three-phased approach to reopening the

country based on the advice of public health experts. Guidelines for Opening Up America Again,

the White House (4-16-2020).

21.       On April 30, 2020, Governor Edwards renewed Louisiana’s statewide Stay at Home Order,

stating that “Louisiana does not yet meet the criteria set by the White House Coronavirus Task

Force to move into Phase 1” of reopening. Proclamation No. 52 JBE 2020.

22.       Two weeks later, on May 15, 2020, the Governor issued an order moving Louisiana into

Phase 1 of reopening (the “Phase 1 Order”) reasoning that “since the time of the original Stay at

Home order, the number of new COVID-19 cases and COVID-related hospitalizations in

Louisiana have decreased, with the peak of hospitalizations occurring on or near April 13, 2020.”

Proclamation No. 58 JBE 2020.

23.       As part of the Phase 1 Order, which was consistent with the White House Guidelines, the

Governor lifted portions of the Stay at Home Order.

24.       The criteria for re-opening businesses under the Phase I Order was tied to percentages of

total occupancy “as determined by the State Fire Marshal” and “applicable guidance from the State

Fire Marshal published at opensafely.la.gov.”2

25.       However, bars without a Louisiana Department of Health (“LDH”) food service permit

were still considered nonessential businesses under Phase 1 and ordered to remain closed to the

public.


2
 Phase 2A – Restaurants, Cafes and Coffee Shops, Bars, Nightclubs, and Micro-Breweries, LA.
OFF. OF ST. FIRE MARSHAL, 1 (July 23, 2020)
https://opensafely.la.gov/DownloadFile.ashx?ID=12&TBL=tblPubliclinks.



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26.    On June 5, 2020, Governor Edwards issued an order moving Louisiana into Phase 2 of

reopening (the “Phase 2 Order”) as Louisiana had met the White House Guidelines criteria for

Phase 2. See Proclamation No. 74 JBE 2020.

27.    Under Sections 2(G)(1)(c) and (d) of the Phase 2 Order, bars were permitted to reopen,

after nearly two and a half months of being shuttered. Bars with an approved food service permit

from LDH were allowed to operate at 50% of capacity, as determined by the State Fire Marshal,

along with other social distancing measures. Bars without an approved food service permit from

LDH were allowed to reopen at 25% of capacity.

28.    The distinctions in businesses under the Phase 2 Order were made without a basis in

scientific data or other reliable evidence.

29.    In connection with the re-opening process, LDH hired private companies to conduct

“contact tracing” of COVID-19 cases. This process involves the use of callers (minimum

requirements include a high school degree and basic verbal skills) working from a script. See

Contact Tracing, LA. DEP’T OF HEALTH, http://ldh.la.gov/index.cfm/page/3957 (last visited July

28, 2020).

30.    LDH uses contact tracing data to identify the potential transmission source(s) and sites of

COVID-19. LDH defines an “outbreak” as “2 or more [positive] cases among unrelated individuals

that have visited a site within a 14-day time period.”3

31.    On June 19, 2020, LDH reported an “outbreak” from a bar (or bars) in Tigerland, which

reportedly occurred over Memorial Day weekend. The incident was highly publicized as nearly




3
 COVID-19 Outbreaks, LA. DEP’T OF HEALTH, http://ldh.la.gov/index.cfm/page/3997 (last visited
July 28, 2020).

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one-third of the LSU football players frequented Tigerland that weekend and were subsequently

quarantined. LDH contends that at least 100 Tigerland patrons and staff tested positive.

32.    According to the LDH website, 454 cases of COVID-19 statewide were traced to bars,

including those from Tigerland.4 In other words, according to LDH data, only 354 cases—or .35%

of all 100,000 cases—have been traced to the thousands of other bars across the state, which

include the bars owned by Plaintiffs.

33.    On July 11, 2020, in an apparent response to publicity about the Tigerland incident, the

Governor issued 89 JBE 2020 (“EO 89-2020”), effective July 13, 2020 (Exhibit “D”), which

mandated closure of all bars statewide for on-premises consumption, restricted indoor and outdoor

“crowd sizes … to no more than 50 people” for other types of gatherings, established mandatory

face covering (mask) requirements for the public, and required “all businesses and organizations”

to “require all persons who enter the premises to wear a face covering” under threat of criminal

sanction against the business owner who “fails to enforce the requirement to wear face coverings,”

not against the individual offender.

34.    Unlike prior orders, EO 89-2020 directed the State Fire Marshal, along with GOHSEP, “to

assure compliance with this order.” This dramatically heightened the level of enforcement by

introducing the prospect of criminal sanctions, as the State Fire Marshal is a law enforcement

officer with the “authority to investigate (including the use of warrants and weapons) and cause

the arrest of individuals suspected of having violated” certain criminal laws (La. R.S. 40:1563.1).

In addition, the State Fire Marshal has broad authority to “take steps that are necessary and proper


4
 David J. Mitchell, Tigerland Coronavirus Cluster: If You Recently Visited, You Should Self
Quarantine, State Says, THE ADVOCATE (June 19, 2020, 7:46 PM),
https://www.theadvocate.com/baton_rouge/news/coronavirus/article_a00bdde0-b265-11ea-bdf1-
2315f4722e57.html.


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 to perform services as required by the state emergency operations plan” (La. R.S. 40:1563), which

 was triggered by the emergency declaration.

 35.    Simply put, the Governor expressly directed the State Fire Marshal to use law enforcement

 authority to force business owners to comply with EO 89-2020 under the threat of criminal

 sanctions. Indeed, the State Marshal has followed that directive.5

 36.    Upon information and belief, the Governor issued EO 89-2020 without scientific data or

 other reliable evidence to establish that closing bars had a real or substantial relation to reducing

 hospitalizations or deaths caused by COVID-19.

 37.    The Governor’s stated rationale was simply that “young adults aged 18-29 years and

 children under 18 account for the majority of new cases since entering Phase 2” and that “this age-

 group[’s] specific increase may reflect, in part, the effect of opening and expanding sectors related

 to amusement, with at least 36 known outbreaks across the state occurring in bars.”

 38.    On July 21, 2020, Governor Edwards announced during a press conference that he intended

 to extend EO 89-2020 through at least August 7, 2020.

 39.    According to LDH’s website, as of July 22, 2020, there were:

                     i. 2001 cases of COVID-19 traced to 202 outbreaks statewide, which equals

                        2% of all COVID-19 cases statewide;

                    ii. 454 cases of COVID-19 traced to 40 outbreaks from bars statewide, which

                        equals .45% of all COVID-19 cases statewide; and




 5
  See John Bel Edwards said Louisiana Coronavirus Cases may be Plateauing – but at a ‘really
 high number’, THE ADVOCATE,
 https://www.theadvocate.com/baton_rouge/news/coronavirus/article_06904936-d122-11ea-ba80-
 37555176f8af.html (last visited July 28, 2020).

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                   iii. 354 cases of COVID-19 traced to 39 outbreaks from bars not in Tigerland,6

                       which equals .35% of all COVID-19 cases statewide.

 40.    At that time, Plaintiffs were among the thousands of bars throughout the state from which

 only .45% of all known cases of COVID-19 may have been transmitted. According to the

 Governor’s own data, 99.5% of known COVID-19 cases were transmitted from elsewhere.

 41.    Following the issuance of the EO 89-2020, the State Fire Marshal and representatives of

 his office began an aggressive enforcement campaign designed to induce compliance through the

 threat of enforcement by contacting business owners, visiting business locations, and threatening

 to issue citations for non-compliance and doing so if necessary.

 42.    As a result of the wide-spread publicity and threat of potential sanctions, most bars

 completely closed by July 13, 2020, as it was not economically feasible to remain open for to-go

 orders and most bars lacked a permit to operate to-go or curbside service.7

 43.    On July 15, 2020, Attorney General Jeff Landry issued Opinion 20-0068 (Exhibit “E”),

 concluding that “three provisions of [EO 89-2020] - the mask mandate, the 50-person

 indoor/outdoor gathering limit, and the bar closure - are likely unconstitutional” and warning

 against enforcement. Exhibit E at 9. Regarding the bar closure mandate, the Attorney General

 explained:

        First, the Proclamation provides little data to support a state wide closure of a single
        type of business, without regard to whether the business is operating with the
        utmost care and a perfect record, operates exclusively with outdoor service, or

 6
   The Tigerland outbreak accounts for at least 100 cases of COVID-19, which is 22% of cases
 traced to all bars.
 7
   This obstacle was re-enforced by a notice issued by the Office of Alcohol and Tobacco Control
 on July 23, 2020, reminding AG permit holders that “curbside services must be conducted in
 compliance with both state and local laws with respect to open containers” and “[b]usinesses may
 only offer alcoholic drinks in sealed …containers through curbside or drive thru services…subject
 to applicable local ordinances.”
                                                  11
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        operates in a geographical location with little data showing spikes related to bars.
        The Proclamation vaguely refers to a handful of outbreaks traced to “bars” but does
        not say where those outbreaks occurred and does not place the minimal data in the
        context of the total number of facilities that qualify as a “bar”. It also only vaguely
        connects outbreaks by stating they “may be” related to bars based on hearsay from
        contact tracing. Without stating adequate data to support it, the Governor has
        singled out one type of business and punished hundreds of law-abiding business
        owners. While the data and the public health statutes may permit targeted closures
        of individual businesses where outbreaks are documented to have occurred, the
        Governor has no authority to discriminate against a single business type statewide
        in the absence of far more data to support such a draconian and arbitrary exercise
        of power. Moreover, suspending or threatening the business or alcohol permit of
        any business would likely amount to violation of due process as these permits are
        recognized property interests protected under the due process clause. It could also
        result in “constructive taking” via government regulation.

 44.    Disregarding the Attorney General’s warning and LDH data reflecting that bars were

 implicated in less than one-half of one percent of all COVID-19 cases, Governor Edwards

 extended the bar closure mandate on July 23, 2020 under Executive Order 96 JBE 2020 (“EO 96-

 2020”) (Exhibit “F”) (referred to collectively with EO 89-2020 as the “Bar Closure and Masks

 Orders”).

 45.    In the same order, however, the Governor allowed all other businesses to either re-open

 (under certain restrictions, including continuance of the mask mandate, capacity restrictions, and

 overall “crowd” limitation of 50 people), or—in the case of trampoline parks, arcades, fairs and

 festivals, children’s play centers, and concert and music halls—to apply for reopening by

 submitting “a reopening plan with specific proposals for occupancy and sanitization to the State

 Fire Marshal,” who could then approve re-opening.

 46.    On information and belief, EO 96-2020 was issued without any basis in scientific data or

 other reliable evidence to support the continued targeted restriction against bars.

 47.    Remarkably, on the same day the Governor continued the targeted closure of bars, he

 issued an “Advisory Notice” allowing video poker operations to resume. Exhibit “G”.

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 48.    On July 26, 2020, the White House issued a “State Report” for Louisiana summarizing

 updated COVID-19 data and making “recommendations.” Exhibit “H”. The White House

 recommended, inter alia, that the State “[m]andate the use of masks in all current and evolving

 hot spots” and to consider closing “establishments where social distancing and mask use cannot

 occur, such as bars.” The report does not require nor endorse the mandating of statewide

 restrictions untethered to scientific data, nor relieve the state of the obligation to narrowly tailor

 restrictions on fundamental rights.

 49.    In fact, the Bar Closure and Mask Orders are not tailored to achieve social distancing—or

 for any reason as to bars—although social distancing is indeed possible in bars, just as in

 restaurants (particularly those with bars) and many other establishments where groups of patrons

 or “crowds” are permitted. Nor is it limited to “hot spots” based on known “outbreaks” despite an

 abundance of available data regarding geographic and demographic case rates.

 50.    At a press conference on July 28, 2020, the Governor announced that COVID-19 cases in

 Louisiana are plateauing, and credited the progress to the Bar Closure and Mask Orders—based

 on absolutely no scientific evidence. In addition, he pointed to the White House

 “recommendations” to support the continued statewide closure of bars. At the same conference,

 the State Fire Marshal confirmed his enforcement activities, stating that he had directed 5,000

 official “visits” to businesses and was issuing citations to not only enforce the mandate as to

 offenders, but to more broadly motivate public compliance.8




 8
  See John Bel Edwards said Louisiana Coronavirus Cases may be Plateauing – but at a ‘really
 high number’, THE ADVOCATE,
 https://www.theadvocate.com/baton_rouge/news/coronavirus/article_06904936-d122-11ea-ba80-
 37555176f8af.html (last visited July 28, 2020).
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                 COUNT I – DENIAL OF SUBSTANTIVE DUE PROCESS
                UNDER THE FIFTH AND FOURTEENTH AMENDMENTS,
                                 42 U.S.C. § 1983

 51.    Plaintiffs fully adopt the allegations set forth in paragraphs 1 through 50 above.

 52.    The Due Process Clause of the Fifth Amendment to the U.S. Constitution states that “No

 person shall be…deprived of life, liberty, or property, without due process of law…”

 53.    The Due Process Clause of the Fourteenth Amendment to the U.S. Constitution states that

 “No state shall…deprive any person of life, liberty, or property, without due process of law…”

 54.    These provisions establish a fundamental right to individual liberty, which includes the

 right to pursue a lawful occupation without undue government interference. See e.g. Allgeyer v.

 Louisiana, 165 U.S. 578, 589 (1897) (liberty means “not only the right of the citizen to be free

 from mere physical restraint of his person…, but the term is deemed to embrace the right of the

 citizen … to live and work where he will; to earn his livelihood by any lawful calling; to pursue

 any livelihood or avocation; and for that purpose to enter into all contracts which may be proper,

 necessary, and essential to his carrying out to a successful conclusion the purposes above

 mentioned.”); see also Meyer v. Nebraska, 262 U.S. 390, 399 (1923) (finding that “liberty” under

 the Fourteenth Amendment Due Process Clause “[w]ithout doubt,…denotes not merely freedom

 from bodily restraint but also the right of the individual…to engage in any of the common

 occupations of life…”).

 55.    “[W]hen faced with a society-threatening epidemic, a state may implement emergency

 measures that curtail constitutional rights so long as the measures have at least some ‘real or

 substantial relation’ to the public health crisis and are not ‘beyond all question, a plain, palpable

 invasion of rights secured by the fundamental law.’” In re Abbott, 956 F.3d 696, 705 (5th Cir.

 2020) (quoting Jacobson v. Massachusetts, 197 U.S. 11, 31 (1905)).



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 56.    The mandatory statewide closure of bars under the Bar Closure and Mask Orders deprives

 Plaintiffs of fundamental rights under the U.S. Constitution.

 57.    The mandate is arbitrary and without sound reasoning, as no scientific data or other reliable

 evidence demonstrates that the public is more susceptible to contracting COVID-19 while at a bar

 than at any other business, including similarly situated businesses such as grocery stores,

 restaurants (many with bars), churches, and home improvement stores; or that the public is more

 at risk in a bar than standing elsewhere in a crowd of up to 50 people.

 58.    There is no real or substantial relation between the operation of a bar and the increase in

 hospitalizations or deaths associated with COVID-19.

 59.    Moreover, science and the law afford the Governor other reasonable ways to achieve the

 goal of slowing the spread of COVID-19 by bar patrons without a categorical ban on all bars; such

 as restrictions based on geographic or demographic data demonstrating high-risk sites, those

 involving “outbreaks” and “hot spots”; mandating reporting of individuals infected with COVID-

 19; mandated quarantines or isolation of infected individuals; and allowing bars to remain open at

 reduced capacity under the mask mandate.

 60.    The threatened enforcement of the Bar Closure and Mask Orders deprives Plaintiffs of their

 fundamental rights afforded under the law and will continue to do so unless enjoined.

 61.    Plaintiffs seek declaratory and injunctive relief to prevent further deprivation.

 62.    Plaintiffs also seek individual awards for all damages caused by Defendants’ unlawful

 actions.

                 COUNT II – DENIAL OF PROCEDURAL DUE PROCESS
                UNDER THE FIFTH AND FOURTEENTH AMENDMENTS,
                                  42 U.S.C. § 1983

 63.    Plaintiffs fully adopt the allegations set forth in paragraphs 1 through 50 above.



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 64.    The Fifth and Fourteenth Amendments to the U.S. Constitution guarantee Plaintiffs a right

 to procedural due process. See Mathews v. Eldridge, 424 U.S. 319, 333 (1976) (“The fundamental

 requirement of due process is the opportunity to be heard at a meaningful time and in a meaningful

 manner”).

 65.    Plaintiffs were not provided notice and opportunity to be heard before “being condemned

 to suffer grievous loss” under the Bar Closure and Mask Orders. Mathews, 424 U.S. at 333 (“The

 right to be heard before being condemned to suffer grievous loss of any kind, even though it may

 not involve the stigma and hardships of a criminal conviction, is a principle basic to our society.”).

 66.    The threatened enforcement of the Bar Closure and Mask Orders deprived Plaintiffs of

 their right to procedural due process and will continue to do so unless enjoined.

 67.    Plaintiffs seek declaratory and injunctive relief to prevent further deprivation.

 68.    Plaintiffs also seek individual awards for all damages caused by Defendants’ unlawful

 actions.

                COUNT III – VIOLATIONS OF THE EQUAL PROTECTION
                   UNDER OF THE FOURTEENTH AMENDMENT,
                                  42 U.S.C. § 1983

 69.    Plaintiffs fully adopt the allegations set forth in paragraphs 1 through 50 above.

 70.    The Equal Protection Clause of the Fourteenth Amendment to the U.S. Constitution

 prohibits states from denying any person “the equal protection of the laws.”

 71.    The Bar Closure and Mask Orders deprive Plaintiffs of their right to equal protection by

 singling out their lawful business activities and subjecting them to targeted enforcement without

 any rational or evidenced-based reason for such differential treatment.

 72.    Allowing similarly situated industries (most similarly, restaurants with bars) and other

 businesses with gatherings of patrons to remain open, with the use of masks and social distancing,



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 while categorically targeting the bar industry is a facial deprivation of equal protection and

 “beyond all question, a plain, palpable invasion of rights secured by the fundamental law.” In re

 Abbott, 956 F.3d at 705.

 73.    The threatened enforcement of the Bar Closure and Mask Orders deprives Plaintiffs of their

 right to equal protection.

 74.    Plaintiffs seek declaratory and injunctive relief to prevent further deprivation.

 75.    Plaintiffs also seek individual awards for all damages caused by Defendants’ unlawful

 actions.

                  COUNT IV – VIOLATIONS OF THE TAKINGS CLAUSE
                 UNDER THE FIFTH AND FOURTEENTH AMENDMENTS,
                                  42 U.S.C. § 1983

 76.    Plaintiffs fully adopt the allegations set forth in paragraphs 1 through 50 above.

 77.    The Fourteenth Amendment to the U.S. Constitution provides that “[n]o State

 shall…deprive any person of life, liberty, or property, without due process of law.”

 78.    The Fifth Amendment to the U.S. Constitution prohibits the taking of “private property []

 for public use, without just compensation.”

 79.    Defendants, acting under color of law, have effectively commandeered Plaintiffs’ property

 without just compensation.

 80.    The bar closure mandate is a taking for a public purpose under the guise that “the

 government must do all that is reasonable and necessary to protect the health and safety of its

 citizens…”. EO 89-2020.

 81.    Such uncompensated seizures of private property violate the Fifth Amendment, made

 applicable to the States through the Fourteenth Amendment, as the order has denied Plaintiffs of

 all economically beneficial or productive use of their properties and businesses. See, e.g.,



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 Pennsylvania Coal Co. v. Mahon, 260 U.S. 393 (1922) (recognizing that a state’s regulation of

 private property may be so onerous that its effect is tantamount to a regulatory taking compensable

 under the Fifth Amendment); see also Penn Cent. Transp. Co. v. City of New York, 438 U.S. 104,

 127 (1978) (finding “that a use restriction on real property may constitute a ‘taking’ if not

 reasonably necessary to the effectuation of a substantial public purpose…or if it has an unduly

 harsh impact upon the owner’s use of the property”) (internal citations omitted).

 82.     Plaintiffs seek individual awards for all damages caused by Defendants’ unlawful actions.

       COUNT V – VIOLATIONS OF DUE PROCESS AND EQUAL PROTECTION
                    UNDER THE LOUISIANA CONSTITUTION

 83.     Plaintiffs fully adopt the allegations set forth in paragraphs 1 through 50 above.

 84.     Article I, § 2 of the Constitution of Louisiana provides: “No person shall be deprived of

 life, liberty or property, except by due process of law.”

 85.     Under Louisiana law, the ownership and operation of a business enterprise is a fundamental

 right. La. Const. Art. I, § 4 (“Every person has the right to acquire, own, control, use, enjoy, protect,

 and dispose of private property.”).

 86.     Article I, § 2 of the Constitution of Louisiana guarantees that “[n]o person shall be denied

 the equal protection of the laws.”

 87.     Defendants have deprived Plaintiffs of their fundamental right to due process and equal

 protection as guaranteed by the Louisiana Constitution.

 88.     Plaintiffs seek individual awards for all damages caused by Defendants’ unlawful actions.

                       COUNT VI – TAKINGS CLAIMS AND DAMAGES
                                UNDER LOUISIANA LAW

 89.     Plaintiffs fully adopt the allegations set forth in paragraphs 1 through 50 above.




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 90.     Article I, § 4 of the Constitution of Louisiana provides, in part: “Property shall not be taken

 or damaged by the state or its political subdivisions except for public purposes and with just

 compensation paid to the owner or into court for his benefit.” See Avenal v. State, 886 So.2d 1085

 (La. 1994).9

 91.     The orders at issue were entered under the authority of the Louisiana Health Emergency

 Powers Act (“LHEPA”), La. R.S. 29:721 et seq. Section 766(D) of the LHEPA provides that the

 Governor may, “[s]ubject to any applicable requirements for compensation, commandeer or utilize

 any private property if he find this necessary to cope with the disaster or emergency.” See also La.

 R.S. 29:724D(4) (same provision under the Louisiana Homeland Security and Emergency

 Assistance and Disaster Act).

 92.     The commandeering of property by executive order through LHEPA constitutes a “a

 particular kind of statutory taking” under Louisiana law. See LaBruzzo v. State, ex. rel. Governor,

 165 So.3d 166 (La. App. 5 Cir. 2014).

 93.     The targeted closure of bars, exclusive of all other businesses, constitutes a constitutional

 and a statutory taking under Louisiana law.

 94.     Plaintiffs seek individual awards for all damages caused by Defendants’ unlawful actions

       COUNT VII – DECLARATORY JUDGMENT AND REQUEST FOR EXPEDITED
                             CONSIDERATION

 95.     Plaintiffs fully adopt the allegations set forth in paragraphs 1 through 94 above.

 96.     This Court has authority to “declare rights and other legal relations of any interested party

 seeking such declaration, whether or not further relief is or could be sought. Any such declaration



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   As explained by Justice Wemer in concurrence, “La. Const. art. 1 §4, using both words, ‘taken’
 and ‘damaged,’ encompasses damage claims that would not necessarily qualify as a taking under
 the Fifth Amendment. Under Louisiana law, a damage claim is compensable although it is not a
 taking.” 886 So.3d at 1113.
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 shall have the force and effect of a final judgment or decree and shall be reviewable as such.” 28

 U.S.C. § 2201; see also Fed. R. Civ. P. 57.

 97.       Plaintiffs are interested parties seeking declaration of their rights under the U.S.

 Constitution, as the Bar Closure and Mask Orders have deprived Plaintiffs of their fundamental

 rights and caused economic damage and harm to reputation and goodwill.

 98.       In particular, Plaintiffs seek a declaratory judgment that Section 2 of EO 89-2020, and any

 extension thereof, is in violation of Plaintiffs’ fundamental rights as guaranteed by the federal and

 state constitutions, as set forth above.

 99.       In accordance with Fed. R. Civ. P. 57, which states that a “court may order a speedy hearing

 of a declaratory-judgment action,” Plaintiffs request expedited consideration of their declaratory

 judgment action, given the nature of the ongoing violations and broad implications of the

 Defendants’ actions.

           COUNT VIII – INJUNCTIVE RELIEF AND REQUEST FOR EXPEDITED
                                 CONSIDERATION

 100.      Plaintiffs fully adopt the allegations set forth in paragraphs 1 through 99 above.

 101.      The Court has authority under Fed. R. Civ. P. 65 to issue temporary restraining orders and

 preliminary injunctions.

 102.      Plaintiffs seek a temporary restraining order preventing the Governor and State Fire

 Marshal from enforcing Section 2 of EO 89-2020, as the Governor has specifically targeted bars,

 which is a violation of the Fifth and Fourteenth Amendments to the U.S. Constitution as alleged

 herein.




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 103.    Under Fed. R. Civ. P. 65(b), a court may issue an ex parte temporary restraining order if

 the facts in “a verified complaint clearly show that immediate and irreparable injury, loss, or

 damage will result” to the Plaintiffs.10

 104.    The deprivation of a constitutionally-protected right constitutes irreparable harm. See

 United States v. City of New Orleans, CIV.A. 12-1924, 2013 WL 492362, at *4 (E.D. La. Feb. 8,

 2013) (“Violations of constitutional rights constitute irreparable harm. . .”) (citing Elrod v. Burns,

 427 U.S. 347, 373–374 (1976)); Texas Democratic Party v. Abbott, CV SA-20-CA-438-FB, 2020

 WL 2541971, at *32 (W.D. Tex. May 19, 2020) (“[T]he violation of constitutional rights for even

 a minimal period of time constitutes irreparable injury justifying the grant of a preliminary

 injunction.”).

 105.    The threatened enforcement of the Bar Closure and Mask Orders has and will continue to

 cause Plaintiffs irreparable injury, loss, and damage unless enjoined.

 106.    The ban of on-premises consumption at bars and the public threats of enforcement of the

 Bar Closure and Mask Orders against bars has caused, and will continue to cause, irreparable harm

 to Plaintiffs’ reputations and good will.

 107.    The granting of a temporary restraining order will not disserve the public interest, as the

 public has no interest in arbitrary and unlawful government action. Moreover, there is no scientific

 data or other reliable evidence that all bars in general, or Plaintiffs’ bars in particular, are any more

 responsible for COVID-19 “outbreaks” than restaurants, grocery stores, casinos, and other

 businesses that are allowed to open, or public gatherings for any purpose.




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    As required by rule, a separate motion requesting a temporary restraining order and preliminary
 injunction is forthcoming.
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 108.    Plaintiffs seek expedited consideration for a preliminary and permanent injunction

 prohibiting the future deprivation of their fundamental rights and the violation of the U.S.

 Constitution as alleged herein.

 109.    “A plaintiff seeking a preliminary injunction must clearly show (1) a substantial likelihood

 that he will prevail on the merits, (2) a substantial threat that he will suffer irreparable injury if the

 injunction is not granted, (3) his threatened injury outweighs the threatened harm to the party

 whom he seeks to enjoin, and (4) granting the preliminary injunction will not disserve the public

 interest.” Planned Parenthood of Gulf Coast, Inc. v. Gee, 862 F.3d 445, 457 (5th Cir. 2017). These

 requirements are satisfied here.

         WHEREFORE, Plaintiffs respectfully pray for the following relief:

     a. That after service and citation, Defendants be cited to appear and answer the same;

     b. That after all due proceedings, there be judgment rendered against Defendants in favor of

         Plaintiffs:

                 1) Declaring Section 2 of Proclamation 89 JBE 2020 and Section 2 of Proclamation

         96 JBE 2020 unlawful as applied to Plaintiffs;

                 2) Granting a preliminary and, in due course, permanent injunction enjoining

         enforcement of Section 2 of Proclamation 89 JBE 2020 and Section B(2) of Proclamation

         96 JBE 2020 as to Plaintiffs;

                 3) Awarding individual damages on all claims;

                 4) Awarding attorney’s fees and costs pursuant to 42 U.S.C. § 1988; and

                 5) All other general and equitable relief appropriate in the premises.

         PRAYS further for a trial by jury on all issues triable by jury.




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                              Respectfully submitted,

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